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1654            SMS - Inbox                                                                                        SMS
  8

       Description: (No description)
       From: +15072001697                                                       Time stamp
                                                                                (Device time     10/21/2016 8:43:16 PM
                                                                                +00:00):
       To: Me <+18123058776>

       Remote party: +15072001697

       Direction: Incoming                  Read status: Read                      Deleted: No

       I know this is a sensitive topic but we still cannot understand how you were able to get your gf pregnant based on
       the medical data we have. We were neglect in not telling you the extreme risks involved because from a medical
       perspective we did not think it was even a remote possibility. We chose to not discuss because we were
       concerned us giving you that news would add an additional stress load on your body and if we have any chance for
       survivability we need to decrease your stressors or we will hit the brick wall.




                                                                                                             134c 4735
                                                                                                        20-32-M-DWM
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-13    Filed 02/25/22 Oxygen
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                                                                                                   Forensic® Detective - 11.6.2.100

1654                SMS - Inbox                                                                                             SMS
  9

        Description: (No description)
        From: +15072001697                                                         Time stamp
                                                                                   (Device time        10/21/2016 8:37:19 PM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party: +15072001697

        Direction: Incoming                           Read status: Read                Deleted: No

        Mr. Marshall
        I can't apologize enough for the additional burdens we placed on you this appointment. The team is astonished
        with how you are even able to function at this point after the heartfelt conversation we had late last night. We are
        gravely concerned with your level of physical and emotional stress, elevated blood pressure/heart rate, intermittent
        motor function deficiencies, scan results and the blood work. It's never easy delivering less than desirable news to
        any patient let alone one whom we developed such a close relationship with. Your compassion and empathy have
        made us reflect on how we are medical professionals and people as a whole. We want to help do everything we
        can to continue this fight and want an opportunity to regain your trust. You said some harsh things last night but in
        honesty it was deserved.




                                                                                                                              4736
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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1669                SMS - Inbox                                                                                             SMS
  8

        Description: (No description)
        From: +15072001697                                                          Time stamp
                                                                                    (Device time       10/17/2016 2:36:23 PM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party: +15072001697

        Direction: Incoming                           Read status: Read                Deleted: No

        Yes Doctor P mentioned that during our brief. How far along is she? And please stick to your appointment this
        week as it's clear that we need to sit and have a very serious discussion about the latest information. It's not my
        preference to send these types of messages but it's crucial we see you this week.




                                                                                                                              4782
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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                                                                                              Page     4 of 6
                                                                                                   Forensic® Detective - 11.6.2.100

1674                SMS - Sent                                                                                              SMS
  7

        Description: (No description)
        From: Me <+18123058776>                                                    Time stamp
                                                                                   (Device time        10/15/2016 2:49:41 AM
                                                                                   +00:00):
        To: +15072001697

        Remote party: +15072001697

        Direction: Outgoing                           Read status: Read                Deleted: No

        Yes she is. I'm guessing one of the other Doctor's mentioned that?

1674                SMS - Inbox                                                                                             SMS
  8

        Description: (No description)
        From: +15072001697                                                         Time stamp
                                                                                   (Device time        10/15/2016 1:29:17 AM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party: +15072001697

        Direction: Incoming                           Read status: Read                Deleted: No

        Good evening Mr. Marshall. Doing an end of week review with the team and I was told that your girlfriend is
        pregnant?




                                                                                                                              4798
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
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                                                                                               Page     5 of 6
                                                                                                    Forensic® Detective - 11.6.2.100

1687                SMS - Inbox                                                                                              SMS
  2

        Description: (No description)
        From: +15072001697                                                         Time stamp
                                                                                   (Device time        10/10/2016 12:04:11 AM
                                                                                   +00:00):
        To: Me <+18123058776>

        Remote party: +15072001697

        Direction: Incoming                           Read status: Read                 Deleted: No

        Mr. Marshall
        We are collaborating with Dr. Tamargo at John's Hopkins and we collectively agree with the diagnosis I presented
        to you on the phone. It's imperative that you rest as much as possible, take the additional meds we prescribed
        earlier and eat and drink on a regular schedule even if you don't feel up to it. It appears from the scans that you are
        self resolving to a degree but we'd like to get you here in the next week or two. I understand you are in a very
        difficult personal situation right now as well but we have to determine ways to manage the stress of that as well or
        it's going to lead to further and more critical complications. When we discussed things to help your body offload
        physiological stressors and it doesn't sound like you've been overly successful with sticking to that plan. I greatly
        respect you and I know I come off as lecturing but the importance of frequent exercise and frequent sexual release
        along with some type of alcohol(1-2) drinks 5x's weekly and quiet time for decompression will help us avoid a
        catastrophic ending. I know that's doom and gloom sounding but we can dictate how the progresses but need you
        to do your part. I also understand your gf is several weeks pregnant and we will need to discuss that during your
        visit. Do you have any questions for me? So for this lengthy message but our communications are still poor until
        we are back on US soil. Dr. Z




                                                                                                                               4838
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1057 +15072001697

                    Device (Owner   Apple iPhone 8 (Matthew           Phones
                    name)           Marshall)

                    Photo                                             Home          +15072001697


                    roup           +15072001697                      Recovere     Yes
                                    Mao eurolog Team               ata

                    Data source     Phonebook (Deice), Messages
                                    (+15072001697), hatsApp
                                    Messenger
                                    (Contacts\Phonebook)




                                                                                                   266
